                            UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


          UNITED STATES OF AMERICA
                                                                      HEARING MINUTES
                           v.                                          ARRAIGNMENT

               TOMMY LEE JENKINS                                      Case No. 19-CR-182


HONORABLE James R. Sickel, presiding                                           Time Called: 2:37 p.m.
Proceeding Held: November 23, 2019                                          Time Concluded: 2:42 p.m.
Deputy Clerk: Cheryl                                                                  Tape: 102319
Appearances:
UNITED STATES OF AMERICA by:                          Daniel R. Humble
TOMMY LEE JENKINS in person and by:                   Thomas E. Phillip
US PROBATION OFFICE by:                               Brian Koehler
INTERPRETER:                                          ☐ Interpreter Sworn


☒ Original Indictment            ☐ Superseding Indictment         ☒ Felony           ☐ Misdemeanor
Speedy Trial Date:     December 31, 2019               Trial Estimate:    3 days
Final Pretrial Date:   Dec. 18, 2019 at 11:00 a.m.     Motions Due:       November 7, 2019
Jury Trial Date:       Dec. 30, 2019 at 8:30 a.m.      Responses Due: November 18, 2019
District Judge:        William C. Griesbach            Replies Due:       November 25, 2019
Magistrate Judge:      Nancy Joseph


☒ Defendant advised of rights                          ☒ Defendant advised of maximum penalties
☐ Court orders counsel appointed                       ☒ Open discovery policy applies
☒ Copy of indictment received by defendant             ☒ Government to disclose GJ materials one day
  ☒ indictment read; or ☐ reading waived                 prior to trial
☒ Not guilty plea entered by: ☒ defendant ☐ court


☐ Defendant released on: ☐ O/R bond; ☐ Cash bond; ☐ Property bond; ☐ with conditions.
  SEE Order Setting Conditions of Release.
☐ Defendant is ordered detained pending trial. SEE Order of Detention Pending Trial.
☐ Court orders federal detainer.
☐ Defendant is ordered temporarily detained. Detention hearing set for:
☐ Bond continued; or ☒ Detention continued as previously set

Maximum Penalties: Count 1: 10ymm-life; $250,000; 5y-life SR; $100 SA; $5000
Count 2: 30y-life, $250,000; 5y-life SR; $100 SA; $5000

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